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Exhibit J (part 1)
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Monterey County Planning and Building Inspection
Condition Comptiance and/or Mitigation Monitoring

Reporting Plan

Project Name: Butter

Village (AY H Property)

File No: PEN0O20470

Approval by: Board o fSupervisors Date: [2/14/2004 (Revised !11/7/0

* Monitoring or Re porting re fers to pro ects with an EIR or adopted Mitigated Negative Declaration per Section 21081.6 ofthe Public

Resources Code.

PLANNING AND ILDING [INSPECTION

Combined Development Permit consisting of 1) Vesting
Tentative Subdivision Map to create parcels for 739 single-
family units, 338 multi-family units, two parcels totaling 7.6
acres for 141 golf villas/timeshares, two parcels for 45,000 sq.
ft. of commercial use, 216 acres for an 18-hole golf course
and club house, 134.7 acres of open space, 10.7 acres of
parks, a 7.3 acre parcel for golf course maintenance facilities,
11.3 acres of roads, a 15,4 acre parcel for wastewater
treatment facility and 32.8 acres for Highway 101 Bypass; and
four (4) Use Permits for wastewater treatment plant, golf
course, development on slopes over 30% and tree removals.
The property is on nine (9} existing parcels accupying
approximately 671 acres North of San Juan Grade Road and
East of Harrison Road (Assessor's Parcel Numbers |13-271-

- App icant

014-000, 113-212-043-000, 113-212-044-000, 113-212-004- * The term
00, 113-212-003-000, 113-212-055-000, 113-212-056-000, “Applicant” as
113-212-057-000 and 113-212-058-000), Greater Salinas used in this
Area and Rancho San Juan Specific Plan. The project is in decument
accordance with County ordinances and land use regulations ns the

| On-going |

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subject to the following terms and conditions. The uses Applicant,
permitted shall be as specified in Table 7-4, Permitted Uses Subdivider,
Matrix, in the Rancho San Juan Specific Plan. Neither the Property

uses nor the construction allowed by this permit shall Owners, or
commence unless and until all of the conditions of this permit Successor(s) in
are met to the satisfaction of the Director of Planning and interest
Building Inspection. Any use or construction not in
substantial conformance with the terms and conditions of this
permit is a violation of County regulations and may result in
modification or revocation of this permit and subsequent legal
action. No use or construction other than that specified by this
permit is allowed unless additional permits are approved by
the appropriate authorities. (Planning and Building
Inspection)

2, PLANNING AND BUILDING INSPECTION Proof of payment shall be furnished by {Applicant Prior to
Pursuant to the State Public Resources Code, State Fish and the applicant to the Planning and filing
Game Code, and Catitomia Code of Regulations, the applicant | Building Inspection Notice of
shall pay a fee, to be collected by the County, within five (5) Determin
calendar days of project approval —prior to filling of the Notice ation

of Determination. This fee shal! be paid on or before the filing
of the Notice of Determination. Proof of payment shall be
furnished by the applicant to the Director of Planning and
Building Inspection prior to the recordation of the tentative map,
the commencement of the use, or the issuance of building and/or
grading permits, whichever occurs first, The project shall not be
operative, vested or final until the filing fees are paid.

(Planaing and Building Inspection)

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PLANNING AND BUILDIN ECTION

The applicant shall comply with all project-specific mitigation
measures as certified and adopted by the County within the
Rancho San Juan and HYH Project EIR, and as specified
within the adopted Mitigation Monitoring and Reporting

Program. (Planning and Building Inspection)

Evidence of comp ce with th p ject

specific mitigation measures shall be
submitted to Planning and Building
Inspection

On-going.

PLANNING AND BUILDING INSPECTION

NOTE ON FINAL MAP - A note shall be included on the
final map or by a separate document that shall indicate its
relationship to the final map, recorded simultaneously with
the final map, as follows: “Reports have been prepared for
this property as listed below, and are on file in the Monterey
County Planning and Building Inspection Department. The
recommendations contained in said reports shall be followed
in all further development of this property.”

* Wildlife Survey Report and Botanical Inventory and
Survey Report for Special Status Plant Species by
Sycamore Environmental Consultants dated July 9,
1998.

* Geotechnic, Hydrologic and Geotechnical
Assessment Report Rancho San_Juan by Kleinfelder,
Inc., March 12, 2003.

© Forest Management Plan by /Staub Forestry and
Environmental Consulting dated June 2004.

* Comprehensive Drainage Control Report and
Percolation Ponds by /Bestor Engineers dated June
11, 2004.

® Volume One Geotechnic and Geotechnical

Applicant's engineer shall include note
on Final Map

Final Map with notes shall be submitted
to Planning and Building Inspection and
Public Works for review.

Applicant's
Engineer

Prior to
Recordat
ion of
Final
Map

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DEVO301 and PLNG2Z0470

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Preliminary Soils Report for Butterfly Estates by
Haro, Kasunich and Associates, Inc, dated January
2003.

* Volume Two Appendices for Geotechnic and
Geotechnical Preliminary Soils Report for Butterfly
Estates by Haro, Kasunich and Associates, Inc. dated
January 2003.

The note shall be located in a conspicuous location, subject to
the approval of the County Surveyor. This condition will also
apply to the use permit for tree removal. Reference Permit
Condition No. 241, {Planning and Building Inspection)

5. PLANNING AND BUILDING INSPECTION Applicant’s engineer shall include note [Applicant’s Prior ta
NOTE ON FINAL MAP: A noite shall be included on the on Final Map Engineer Recordat
final map or by a separate document that shall indicate its ion of
relationship to the final map, recorded simultaneously with Final
the final map, as follows: “CC& R's for the residential Map

development shall contain regulations for landscaping
consistent with applicable ordinances. (Planning and

Bullding Inspection)

6. PLANNING AND BUILDING INSPECTION Applicant’s engineer shail include note |Applicant’s Prior to
NOTE ON FINAL MAP AND IMPROVEMENT PLANS: | on Subdivision Improvement Plans and Engineer Recordat
A note shall be included on the Subdivision Improvement Final Map ion of
Plans and on the final map for each phase or a separate sheet to Final
be recorded with each phase of the final map indicating that Map

“Underground utilities are required in this subdivision in
accordance with Chapter 19.10,095, Title 19 of the Monterey
County Code.” Such facilities shall be installed or bonded
prior to filing the final map. The note shall be located in a

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conspicuous manner subject to the approval of the Director of
Pianning and Building Inspection. (Planning and Building
Inspection)

PLANNING AND BUILDING INSPECTION

NOTE ON FINAL MAP: A note shall be included on the
final map or by a separate document that shall indicate its
relationship to the final map, recorded simultaneously with
the final map, as follows: “Mandatory garbage collection shall
be required and that the project shall comply with the
Monterey County Solid Waste Management Plan including
recycling efforts.” (Planning and Building Inspection)

PLANNING AND BUILDING INSPECTION

NOTE ON FINAL MAP AND IMPROVEMENT PLANS;
A note shall be included on the Subdivision Improvement
Plans and on the final map or by a separate document that
shall indicate its relationship to the final map, recorded
simultaneously with the final map, as follows: “Soil
disturbance activities, such as road grading, shail be limited to
the period between April 15 and October 15 unless Winter
season operating conditions of the Erosion Control Ordinance
are met and in place and are identified on the erosion control
plan and improvement plans subject to the approval of the
Director of Planning and Building Inspection prior to filing the
Final Map. In addition, any soil exposed during construction
between October 15 and April 15 shall be protected by
implementing Permit Conditions No.'s 48, 58, 59, 71 and
129.A note regarding erosion control for Winter season grading
operations shall be included on the erosion control plan and the

Applicant’s engineer shall include note [Applicant's Prior to
on Final Map Engineer Recordat
ion of
Final
Map
Applicant's engineer shall include note —‘[Applicant’s Prior ta
on Subdivision Improvement Plans and [Engineer Recordat
Final Map. ion of
Final
Map

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improvement plans and incorporated in the CCK R's,
(Planning and Building Inspection)

simultaneously with the final map, as follows: “That a grading
permit shalt be required pursuant to the Monterey County Code
relative to Grading, Chapter 16.08.” (Planning and Building
Inspection)

9%, PLANNING AND BUILDING INSPECTION Applicant’s engineer shall include note [Applicant's Prior te
NOTE ON FINAL MAP AND IMPROVEMENT PLANS: | on Subdivision Improvement Plans and [Engineer Recordat
A note shall be included on the Subdivision Impravement Final Map. ion of
Plans and on the final map or by a separate document that Final
shall indicate its relationship to the final map, recorded Maep
simultaneously with the final map, as follows: “That any street
lights in the development be approved by the Director of
Planning and Building Inspection and Public Works.”
(Planning and Building Inspection)

10. PLANNING AND BUILDING INSPECTION Applicant’s engineer shall include note [Applicant's Prior to
NOTE ON FINAL MAP AND IMPROVEMENT PLANS: | on Subdivision Improvement Plans and [Engineer Recordat
A note shall be included on-the Subdivision Improvement Final Map. ion of
Plans and on the final map or by a separate document that Final
shall indicate its relationship to the final map, recorded Map

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PLANNING AND BUILDING INSPECT

NOTE ON FINAL MAP AND IMPROVEMENT PLANS:
A note shall be included on the Subdivision Improvement
Plans and on the final map or by a separate document that
shall indicate its relationship to the final map, recorded
simultancously with the final map, as follows: “No wetland
alteration shall be allowed unless in accordance with a permit
issued by the U.S. Army Corps of Engineers.” (Planning and
Building Inspection)

| Applicant’s engineer shall include note

on Subdivision Improvement Plans and
Final Map.

Prior to

Recordat
ion of
Final
Map

The applicant shall enter into an agreement with the County to
implement a Mitigation Monitoring and/or Reporting Plan in
accordance with Section 21081.6 of the Califomia Public
Resources Code and Section 15097 of Title 14, Chapter 3 of
the California Code of Regutations, Compliance with the fee
schedule adopted by the Board of Supervisors for mitigation
monitoring shall be required and payment made to the County
of Monterey at the time the property owner submits the signed
mitigation. monitoring agreement, (Planning and Building
Tuspection)

Enter into agreement with the County to
implement a Mitigation Monitoring
Program.

Fees shall be submitted at the time the
property owner submits the signed
mitigation monitoring agreement.

Prior to
issuance
of
grading
permit or
building
permit

PLANNING AND BUILDING INSPECTION

The property owner agrees as a condition and in consideration
of the approval of this discretionary development permit that
it will, pursuant to agreement, cooperate in good faith with the
County of Monterey in jointly defending County or its agents,
officers and employees from any claim, action or proceeding
against the County or its agents, officers or employees to
attack, set aside, void or annul this approval, which action is
brought within the time period provided for under law,

Proof of recordation of the
Indemnification Agreement, as outlined,
shall be submitted to Planning and
Building Inspection

Upon
demand
of
County
Counsel
or
concurre
nt with
the

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66499.37, as applicable (a “Challenge”). The parties shail
execute a joint defense agreement under which each party
shall bear its own fees and costs of defending a Challenge,
Naither party shall settle a Challenge without the approval of
the other party. Owner shall indemnify and hold County
harmless from damages and liabilities arising from the
Challenge. The parties shall consult regularly with, and
consider in good faith input received from each other,
regarding defense against the Challenge. (Planning and
Building Inspection) .

issuance
of
building
permits,
use of
the

property,
recordati
on of the
final
map,
whicheve
r occurs
first and
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applicabl
e

14,

PLANNING AND BUILDING INSPECTION

That a conservation easement be conveyed to the County of
Monterey or other qualified tax-exempt nonprofit organization
approved by the County over those portions of the property
where the slope exceeds 30 percent. Portions of the property
for which a use pennit for development on slopes in excess of
30% has been approved shall be excepted- ftom the
conservation ¢asement. Conservation casement deed to be
submitted to and approved by the Director of Planning and
Building Inspection, accepted by the Board of Supervisors and
recorded concurrent with filing of the final map. (Planning and

Building Inspection)

Submit approved and recorded
conservation easement to Planning and
Building Inspection

Applicant

Prior to
Recordat
ion of
Final
Map

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PLANNING AND BUILDING INSPECTION

Consumer Price Index for Al] Urban Consumers ("C-CPI-U”)
between the date of full execution of this stipulation and the
date when the fees are paid (see Paragraph 5.d, of the
Stipulation between HYH Corporation and Monterey County

Evidence of compliance with the Applicant Prior to
Improvement and grading plans shall include an Implementation Schedule shall be issuance
implementation schedule of measures for the prevention and submitted to Planning and Building of
control of erosion, siltation and dust during and immediately Inspection during the course of grading
following construction and until erosion control planting construction until project completion as permit or
becomes established. This program shall be approved by the approved by the Director of Planning and building
Director of Planning and Building Inspection. (Planning and Building inspection permit
Building Inspection)

16. PLANNING AND BUILDING INSPECTION County shall caiculate the required Applicant Prior to
Prior to the issuance of'a building permit, the applicant shall | amount as set forth in Paragraph 8.c. of issuance
ré¢imburse the County for a share of the total Specific Plan and | the Stipulation between HYH of
EIR costs (Planning and Building Inspection) Corporation and Monterey County filed building

on September 16, 2002, Applicant shall permit
pay the full amount due prior to issuance
of the first building permit.

17. PLANNING AND BUILDING INSPECTION Pay the required fee and provide proof of [Applicant Prior to
Prior to the issuance of a building permit, the applicant shall payment to Planning and Building issuance
pay a fire impact fee of 30.29 per square foot of residential Inspection of
construction. (Planning and Building Inspection) building

permit

18. PLANNING AND BUILDING INSPECTION Pay the required fee and provide proof of |Applicant Prior to
Prior to issuance of a building permit, the applicant shall pay a | payment to Planning and Building issuance
library impact fee of $0.108 per square foot of residential Inspection of
construction, adjusted to reflect the change in the U.S. building
Department of Labor, Bureau of Labor Statistics Chained permit

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filed on September 10, 2002). (Planning and Building

Inspection)

the Monterey County Planning and Building Inspection
Department.” Proof of recordation of this notice shall be
furnished to the Director of Planning and Building Inspection
prior to issuance of building permits or commencement of the
use. (Planning and Building Inspection)

19, PLANNING AND BUILDING INSPECTION Pay the required school fees and provide [Applicant Prior to
Prior to the issuance of a building permit, the applicant shall proof of payment to Planning and issuance
pay any applicable school impact fees to the Santa Rita Union | Building Inspection of
School District, Lagunita Elementary School District and building
Salinas Union High School District (see Paragraph 4.d. of the permit
Stipulation between HYN Corporation and Monterey County
filed on September 10, 2002). (Planning and Building
Jaspection)

20. PLANNING AND BUILDING INSPECTION Proof of recordation of this notice shall © |Owner/Applica | Prior to
The applicant shall record a notice which states: “A permit be furnished to Planning and Building int issuance
(Resolution 04-425) was approved by the Board of Inspection of
Supervisors for Assessor’s Parcel Numbers 1 13-271-014-000, grading
113-212-043-000, 113-212-044-000, 113-212-004.000, 113- and
212-003-000, 113+212-055-000, 1 13-212-056-000, 113-212- building
057-000 and 113-212-058-000 on December 14, 2004. The permits
permit was granted subject to 262 conditions of approval or start
which run with the land. A copy of the permit is on file with of use.

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LAND USE

Prior to issuance of a building permit for retail and industrial
buildings located within 100 feet of light sensitive areas (c.g.
residential, medical care facilities), the applicant shall submit
a lighting study to confirm that light within adjacent light-
sensitive property complies with Policy 26.1.20 of the General
Plan. (Planning and Building Inspection)

22

$.2-9

Submit three copies of lighting study to
Planning and Building Inspection

pplicant

Pri or to

issuance
of
building
permit

TRAFFIC AND CIRCULATION

The applicant shall pay an amount not to exceed $16,017,310
as a traffic fee for regional, and local off-site commercial and
residential traffic impacts to be paid on a per unit of per
square foot basis at the time of issuance of building permits.
Traffic fees are as follows:

Housing $14,399,908

Market-Rate

® No. Units: 932

=» $/Unit: $13,674

=" Total Fees: $12,744,547
Moderate

= No. Units: 86

« $/Unit: $9,259

" Total Fees: $796,304
Low Income

® No. Units: 64.5

= $/fUnit: $7,039

= ‘Total Fees: $454,038
Very Low lancome

* No. Units: 64.5

Pay required fees and provide proof of
payment to Planning and Building
Inspection.

Applicant

Prior to
Tssuance
of
Building
Permit

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© $/Unit: $6,279
= Total Fees: $405,018

Other. $1,617,401
Commercial
= No, Units: 45
= $/Unit: $9,118/1,000 sq. ft.
* Total Fees: $410,298
Golf Course
® No. Units: 1
2 $/Unit: $342,648
* Total Fees: $342,648
Guest Villas
= ~=No. Units: 71
* = $/Unit: $12,175
= Total Fees: $864,455
Fotal Traffic Fees: $16,017,310

Tn addition to the above traffic impacts fees HYH shall: 1)
construct at its cost or cause to be constructed by a
Community Facilities District, all streets and roads within
Butterfly Village, such improvements, by prior agreement,
will be owned by the County and maintained by a Community
Services District or other suitable or appropriate entity; and 2)
fund, either by direct payment of traffic fees or through a
Community Facilities District, County acquisition of land or
right of way, through negotiation or eminent domain, and
construction of all of the off-site road and traffic

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DEVO361 and PLN@20470

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improvements serving Butterfly Village. Pursuant to prior
agreements, all of these improvements will be owned by the
County and maintained by a Community Services District, or Applicant shall construct all streets and
if the improvement js to be part of the existing County road roads within Butterfly Village.
system, by the County. All such public roads and traffic ; Applicant
improvements shall be constructed in accordance with Prior to
accepted local cngineering standards and Specific Plan Issuance
standards. of
Building
All on-site and off-site roads and traffic improvements Permit
constructed by the applicant, to the extent fimded directly or
indirectly by applicant, shall be eligible for fair share
reimbursement from future development benefiting from the
facilities, except to the extent that such improvements are
funded by traffic impact fees paid by applicant. Applicant
shall prepare and execute an agreement that reimburses the
applicant for the fair share proportionate costs subject to the
approval of the Public Works Director and County Counsel.
The following improvements are among those roads eligible
for such fair-share reimbursement:
® = Project access improvements on Stirling Road
through the development site to its intersection with
San Juan Grade Road;
® Signal and intersection improvements at Stirling
Road/San Juan Grade Road. This intersection shall
operate at acceptable levels of service;
*® A northwest project access between the development
site and its intersection with Harrison Road:
* __ Signal and intersection improvements at the

Appticant’s Attorney in consultation with
County Counsel! shal] prepare agreement.
Applicant shall execute the agreement.

Applicant's

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intersection of northwest access road and Harrison

restoration efforts to improve the plant diversity and coverage
within disturbed habitat within conservation areas (shown as
an Open Space Preserve/Mitigation Area on Figure 9-2b, Alt.
4E Landscape Plan, in the Rancho San Juan Specific Plan) as
set forth in Section 6.7.3 (Application of
Technology/Techniques to Achieve Goal) of the Rancho San
Juan Specific Plan. Prior to undertaking any habitat
enhancement activities, an enhancement plan shal] be
prepared by the developer or resource management entity (see
Resource Management Entity Mitigation Measure). Ata

Road. This intersection shall operate at acceptable icant Prior to
levels of service; and Recordat
« Emergency access roads as required by the fire ion of
department. Final
(Planning and Building Inspection, Public Works, North Map
County Fire Protection District)

23. 53-2 LANDFORM ALTERATION/VISUAL QUALITY Submit three copies of site plans to Applicant Prior to
Prior to the issuance of a grading permit for development Planning and Building Inspection for issuance
phases, the applicant shall submit a plan for the review and review and approval of
appraval of the Monterey County Planning and Building grading
Inspection Department that that would minimize grading permit
impacts. Prior to the issuance of grading permits for
individual lots with the potential for ridgctine development
the applicant shall submit a plan identifying building
envelopes that would minimize additional grading and avoid
ridgeline development. (Planning and Building Inspection)

24, 5.4-1b BIOLOGY Qualified biologist shall prepare Applicant On-going
The applicant shall be responsible for implementing habitat enhancement plan

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minimum, the plan shall include the following components:
planting palette and planting and maintenance specifications.
The enhancement plan shall be submitted for review and
approval by the Monterey County Planning and Building
Inspection Department. Enhancement efforts within wetlands
shall also be subject to review and approval by the Califomia
Department of Fish and Game and/or the U.S. Army Corps of
Engineers, as appropriate. (Planning and Building
Inspection)

25.

S4eLe

BIOLOGY

Prior to approval of a Final Map for future development
projects in or adjacent to riparian habitat, 100-foot buffers
shall be provided around wetlands unless reduced buffer
widths are determined to be appropriate by the County ona
case-by-case basis in consultation with CDFG and USACOE.
Buffer areas shall be planted with appropriate native plant
Species. Development shall be restricted in this buffer area
except for improvements associated with passive recreational
uses such as pedestrian trails, picnic tables, and benches, etc.
Any passive recreation improvements within the buffer area
shall be sited and designated to avoid direct and indirect
impacts to riparian habitat. (Planning and Building
Inspection)

Applicant’s engineer shall prepare site
plan showing setbacks

Applicant's
jEngineer

Frior to
recordati
on of
final map

26.

S.4aFd

BIOLOGY

Prior to approval ofa final grading plan which would impact
jurisdictional waters of the U.S. and/or wetlands, the County
of Monterey shall verify that the appropriate permits have

been obtained (e.g. Individual or Nationwide 404 Permit and
Streambed Alteration Agreement). (Planning and Building

Submit evidence to Planning and
Building inspection that permits have
been obtained.

Applicant

Prior to
approval
of final
grading
plan

Rancke San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

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Inspection)

27. 5.4-Le BIOLOGY Applicant’s Engineer shall submit final [Applicant's Prior to
To the greatest extent possible, the final design of the golf design plan to Planning and Building Engineer recordati
course shall retain surface drainage channels between golf Inspection for review and approval. on of
course ponds to promote continuity in the natural drainage . final map
system between holes 12 through 15, (Planning and
Building Inspection, Public Works, and Water Resources
Agency}

28. 5. dada BIOLOGY Submit approved and recorded open Applicant Prior to
Prior to recordation of a Final Map, all land designated as space easement to Planning and Building recordati
Conservation Area within the Final Map area shall be placed _| Inspection on of
in an open space easement which prohibits eny disturbance or final map
change in the vegetation. The right-of-way for the Pronedale
Bypass shall not be required to be placed in an open space
easement as long as the right-of-way is potentially required.

(Planning and Building Inspection and Public Works)

29. 5. FFB BIOLOGY Qualified biologist shall prepare ‘Applicant Prior to
Prior to recordation of a final map, the County of Monterey guidelines and submit three copies of recordati
shall confirm that development located in or within 100 feet | guidelines to Planning and Building on of
of aquatic and/or riparian habitat includes guidelines to Inspection for review and spproval final map
prevent contamination of these habitats by pesticides,
herbicides, fungicides, and fertilizers. Landscaping shall
include appropriate native plant species and shal! not include
plantings of non-native, invasive plant species. (Planning
and Building Inspectian)

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No more than 30 days prior to grading or construction in or within
100 feet of potential habitat areas identified on Figure 5.4-1, the
project applicant shall complete a pre-construction survey conducted
by a qualified biologist for California red-legged frog and California
Tiger Salamander, The survey should result in a determination of the
presence or negative finding of California red-legged frog or
California Tiger Salamander. If cither of this species is present, the
following actions shall be taken:

Heavy equipment operators shall be instructed to identify and avoid
aquatic and riparian habitats;

Temporary sediment settling basins and strictures such as sediment
fencing, straw bales, or other appropriate erosion control measures
shall be used to delineate project area boundaries and prevent
sediment-laden runoff from entering the drainage channels and
riparian corridors;

Construction activities occurring adjacent to the aquatic and riparian
habitats shall occur during summer months when the drainage
cortidors are dry or nearly dry and-rain is untikely;

Before constraction begins, a qualified biologist shall inform grading
equipment operators of the potential presence of the California red-
legged frog, its protected status, work boundaries, and measures to be
implemented to avoid the incidental take of frogs;

A qualified biologist shail monitor grading activities occurring
within 100 feet of the aquatic and riparian habitats;

Food and food-related trash items associated with construction
workers shail be enclosed in sealed containers and regularly removed
from the project site to deter potential predators of California red-
legged frog;

Pets shall net be permitted on the construction site:

' Applicant shall retain a biologist who

shall complete a preconstruction survey.
If the red legged frog or tiger salamander
are present applicant shall take the
actions provided in the mitigation
measure to avoid impacts to the species.

Prior to

Grading —

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All staging areas and all fueling and maintenance of ve s and
other equipment shalt occur at least 20 meters (60 feet) from any
riparian habitat, pond, stream, creek or other water body to ensure
that habitat contamination does not occur from such activities.

[f California red-legged frog(s) or California Tiger Salamander are
observed during the pre-construction survey, and/or if the above
avoidance measures cannot be implemented, any improvements
proposed in or adjacent to the aquatic and riparian habitats shall be
done in consultation with the U.S. Fish and Wildlife Service to
determine whether incidental take authorization is required, and to
establish any additionat avoidance measures,

Prior to the County issuance of a grading permit or approval of the
final map, whichever occurs first, the subdivider shal! meet all
requirements of the federal Endangered Species Act, as applicable to
the project authorized by the Combined Development Permit.

30.

5.4.58

BIOLOGY

No more than 30 days prior to grading or construction in or
within 100 feet of riparian, woodland or grassland habitats
that would occur during the nesting and/or breeding season of
special-status bird species potentially nesting in the arca
(generally March 1 through August 1), the applicant shall
complete a pre-construction bird survey conducted by a
qualified biologist to determine if active nests of special-status
bird species occur in or adjacent to the proposed construction
area. The survey shall include all appropriate nesting areas in
the construction zone and within 200 feet of the construction
zone. If active nest(s) are found, clearing and construction
within 200 feet of the nest(s) shall be postponed or halted

Qualified biologist shall complete a pre~
construction survey. Proof of completion
of the survey shall be submitted to
Planning and Building Inspection.

Applicant

construct
ion

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until the nest(s) are vacated and juveniles have fledged and
there is no evidence of a second atfempt at nesting, at the
discretion of the biologist. (Planning and Building
(nspection}

31.

5.4.50

BIOLOGY

Ne more than 30 days prior to grading or construction in or
within 100 feet of grassland habitats that would occur during
the nesting season ot winter residency period for burrowing
owls (generally December 1 through August 1), the applicant
shall complete a pre-construction survey for burrowing owls
conducted by a qualified biologist. The survey shall Include
all area in the construction zone and within 200 feet of the
construction zone. If active burrows are found in the survey
area, the applicant shall prepare a burrowing owl habitat
mitigation plan and submit it to CDFG for review and
approval. The burrowing ow! habitat mitigation plan shall
contain mitigation measures contained in the CDFG Staff
Report on Burrowing Owl Mitigation (CDFGI995),
Compliance with this mitigation measure shall include, but
not be limited to, the following:

* Avoidance of occupied burrows during the nesting season
(February 1 through August 31);

« Acquisition, protection and funding for long-term

management and monitoring of foraging habitat adjacent
to occupied habitat;

* Enhancement of existing burrows and/or creation of new

Qualified biologist shall complete a pre-
construction survey. Proof of completion
of the survey shall be submitted to
Planning and Building Inspection.

Applicant

No more
than
thirty
days
prior to
grading
or const-
ruction

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burrows; and/or

¢ Passive relocation of burrowing owls in accordance with
the CDFG report on burrowing owls,
(Planning and Building Inspection)

habitat. The fencing shall remain in piace until all
construction activities are complete. Soil compaction, parking
of vehicles or heavy equipment, stockpiling of construction

32, 5.4.54 BIOLOGY Qualified biologist shall complete a pre- [Applicant No more
No more than 30 days prior to grading or construction in areas | Construction survey, Proof of completion than 30
suspected to support coast horned lizard, western pond turtle, | of the survey shall be submitted to days
Monterey dusky-footed woodrat, and special-status bat Planning and Building Inspection. prior ta
species, the applicant shall complete a pre-construction survey grading
conducted by a qualified biologist. If individuals of these or const-
species are observed, a salvage and relocation program shall ruction
be prepared in coordination with CDFG to prevent death or
injury to individuals of these species during grading or
construction operations. The salvage program shall include
measures to remove individuals from the project site prior to
and during project grading and construction, and to relocate
them to nearby protected habitat or other suitable locations
specified in the program, (Planning and Building
Inspection)

33. 5.4.52 BIOLOGY Submit evidence of habitat protection to [Applicant Prior to
Prior to issuance of a grading permit for future development _ | Planning and Building Inspection issuance
projects in or within 100 fect of riparian habitat, the County of ofa
Monterey shall verify that orange plastic or other temporary gtading
demarcation has been installed along the boundary of riparian permit

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materials, andor dumping of materials shall not be allowed
within the Conservation Areas. (Planning and Building
Inspection)

34,

5.45

BIOLOGY -

Prior to any disturbance of land, which would impact
wetlands, a Detailed Habitat Restoration Plan shall be
submitted and approved by the County of Monterey. The
Plan shall be generally consistent with the location illustrated
in Figure 5.4-2 and described in this EIR. This Plan shall
identify the exact amount and location of impacted wetland
habitat, identify the proposed locations for replacement or
restoration of wetland habitat within the Conservation Areas
at aft overall ratio of 3:1; at least 1:1 must be comprised of
wetland creation, A lower overall ratio may be undertaken
with the concurrence of the California Department of Fish and
Game, U.S. Army Corps of Engineers and Regional Water
Quality Contro! Board based on the habitat value of the area
to be impacted. The Plan shall specify an appropriate plant
palette, and provide specifications for installation and
maintenance of the replacement habitat. The Pian shall
specify the use of locafly-obtained native species. The Plan
shall require a five-year monitoring program, which will
assess progress based on specific success standards identified
in the Pian. At the end of five years, survivorship of planted
riparian scrub species will be a minimum of 75 percent of the
total number initially planted. Target species will comprise a

Qualified biologist shall prepare Habitat
Restoration Plan. Submit plan to
Planning and Building Inspection for
review and approval

‘Applicant

Prior to
issuance
ofa
grading
permit

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} minimum o: 70 percent of all scrul species present in riparian

scrub habitats. Other perennial native shrub species that
colonize the riparian scrub planting areas can be used to
calculate the final success criteria.

The planting program shall be completed prior to issuance of
the first building occupancy permit.

In addition, the applicant shalt implement Mitigation
Measures 5,4-1b, 5,4-1c¢, 5.4-1d, and 5.4-le.
(Planning and Building Inspection)

36.

5.4 =f

BIOLOGY

Prior to any disturbance of land that would impact mixed
hative/non-native grassland habitat, a detailed Habitat
Restoration Plaa shall be submitted and approved by the
County of Monterey in consultation with the California
Department of Fish and Game.

The plant materia! and location shall in general reflect the
conceptual habitat restoration plan illustrated in Figure 5.4-2
and described in this EIR. The plan shall provide for the
replacement or restoration of impacted native grassland at a
ratio of 1:1. The Habitat Restoration Plan shall include a
focused grassland survey, which shall be conducted at the
appropriate time of year by a qualified biologist. This survey
shall quantify and map the area of native grassland habitat that
would be impacted by the proposed development. The Plan
shall specify an appropriate plant palette, and provide
specifications for installation and maintenance of the

A qualified biologist shall prepare a
Habitat Restoration Plan, Applicant shall
submit this to PBI for review and
approval, subject to consultation with
CDFG.

Applicant shall retain a qualified
biologist to monitor success of any
planting or transplanting activities
identified in the Habitat Restoration
Plan. Monitoring shall occur annually,
Annual progress reports shall be
prepared and submitted to PB&1 for
review and approval and shall include
any mid-term corrections to the Plan to
achieve success if monitoring indicates
that the 5-year criteria might not be
achieved. Applicant shall retain a

Qualified
Biologist/Appli
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Prior to
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habitat/A
nnually
for five
years, for
submittal
of
monitori

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replacement habitat,

At the end of five years, success criteria shall be met if native
species in grassland planting areas comprise 70 percent of all
species preseut, or if total plant cover is 90 percent of all plant
cover present. Other native species that colonize the perennial
grassland planting areas in addition to planted species will be
used to calculate the final success criteria, If the success
criteria are not met at the end of the five-year monitoring
program, then applicant shall identify and implement
additional measures that would achieve success including but
not limited to replanting, enhanced maintenance or
appropriate compensatory mitigation for the species impacted.
Monitoring shall continue annually until the success criteria
are achieved.

The Habitat Restoration Plan shall also provide compensation
for all fragrant fritillary plants that will be impacted. A
survey of fragrant fritillary plants shall be conducted to
determine the location and number of impacted plants. The
Habitat Restoration Plan shali inchide a combination of the
following actions to compensate for impacts to the fragrant
fritillary providing that applicant demonstrates that he has
relied upon transplantation first to the maximum extent
feasible, then preservation through fee title or conservation
easement and last, a voluntary contribution to a rare plant
conservation program.

qualified biologist to prepare any
subsequent modifications to the Habitat
Conservation Plan required in the eyent
that success criteria are not achieved.
This shall be submitted to PB&! for
review and approval,

ng
reports

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Identify on locations suitable for
transplanting impacted fragrant fritillary plants.
Preference shall be given to on-site locations, A
planting Plan shail describe in detail the
planting: process and monitoring methods, and
wiil identify the entity responsible for
implementation and monitoring, Plants shall be
derived from the following sources:
a. Transplanting existing on-site plants,
b. Propagation from seeds from on-site
plants or an approved commercial
source.
¢. Bulbs supplied from an approved
commercial source.

Preserve through fee title acquisition or
conservation easement, an existing off-site and
currently unprotected population of fragrant
fritillary identified by the applicant or
recommended by DFG. The conservation
easement shali prohibit activities and Jand uses
that could adversely affect the fritillary
population (e.g., development, discing, and
plowing). The conservation easement shall
require the continuation of land uses believed to
benefit the population (e.g., grazing and
burning). The conservation easement shall be
submitted to DFG for review and approval prior
to recordation, The preserved area shall be

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demonstrated to have a population of equal or

greater size than the population which would be

impacted.

5

3. Make a voluntary contribution toa rare plant
conservation/restoration programm recommended
by DFG. The fee will be proportionate at a 2:1
ratio to the remaining acres of fragrant fritillary
that are required to be mitigated.

Transplanting success shall be achieved if the number of
fragrant fritillary plants in restoration areas after 5 years is
110% of the total number transplanted impacted. If this goal
is not achieved, then applicant shall identify and implement
additional measures to achieve success including but not
limited to planting additional fragrant fritillary or acquisition
of additional off-site population to bring the retention to the
110% criteria. Monitoring of onsite plantings shail continue
annually until the success criteria are achieved.

entity through a Community Service District (CSD) or

37. 5.4040 BIOLOGY Applicant’s attomey in consultation with [Applicant’s Within
Within 120 days of adoption of the specific plan, a qualified | County Counsel shall develop and Attomey 120 days
resource inanagement entity shall be identified and approved | execute of
by the Monterey County Board of Supervisors as set forth in adoption
Section 6.7.3 (Application of Technology/Techniques to of
Achieve Goal} of the Rancho San Juan Specific Plan. specific
Funding shall be made available to the resource management Plan

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co parable fun ng source, such as the Monterey County

Parks Department, Fire District or a non-profit conservancy to |:

cover management activities for the life of the conservation
areas in Rancho San Juan. These management responsibilities
shal! include but not be limited to the following activities:
Fire management;
Control of public access;
Maintain fencing;
Maintain access roads and trails;
Install and maintain signage controlling access and
increasing public awareness of the biologic values of
the conservation areas;
f. Trash removal;
g. Monitor adjacent development to assure adherence to
edge effect controls; and
h. Monitor overall habitat quality and undertake
remedial measures as necessary to repair damage
including:
« Tnvasive plant species removal;
* Erosion control;
*® Predator control; and/or Habitat
creation/restoration/enhancetment.
(Planning and Building Inspection, Public Works and
North County Fire Protection District)

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